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                                              200 S. ANDREWS AVENUE,
                                                       SUITE 900
                                              FT. LAUDERDALE, FL 33301
                                                    TIN# XX-XXXXXXX
                                                       954-755-3425


Invoice submitted to:
                                                                            September 7, 2022

Antonio Ramos
                                                                            89019-1 -CONTINGENCY
714 Executive Center Drive
West Palm Beach, FL 33401



In Reference To:Antonio Ramos v. Florida Drawbridges Inc.
Invoice # 31661



             Professional Services

                                                                                     Hrs/Rate      Amount

  5/10/2021 JHS    Draft Complaint.                                                      1.30       520.00




                                      Draft
                                                                                       400.00/hr

             JMB   Review and revise Ramos Complaint.                                    0.40       140.00
                                                                                       350.00/hr

             JMB   Attention to issues regarding case assignment.                        0.10        35.00
                                                                                       350.00/hr

             JMB   Receive and review issued summonses.                                  0.10        35.00
                                                                                       350.00/hr

             JHS   Attention to issues regarding case assignment.                        0.10        40.00
                                                                                       400.00/hr

   6/2/2021 JHS    Draft Certificate of Interested Parties and file.                     0.50       200.00
                                                                                       400.00/hr

   6/4/2021 JMB    Initial review of Defendants' motion to dismiss.                      0.80       280.00
                                                                                       350.00/hr

             JMB   Receive and review scheduling order.                                  0.10        35.00
                                                                                       350.00/hr

             JMB   Receive memorandum from JHS regarding Defendants' MTD.                0.40       140.00
                                                                                       350.00/hr

             JHS   Initial review of Defendants' motion to dismiss.                      0.80       320.00
                                                                                       400.00/hr

             JHS   Receive and review scheduling order.                                  0.10        40.00
                                                                                       400.00/hr
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Antonio Ramos                                                                                             Page    2


                                                                                            Hrs/Rate        Amount

   6/4/2021 JHS   Correspondence with client regarding Defendants' motion to dismiss            0.30         120.00
                  and the Court's scheduling order.                                           400.00/hr

           JHS    Write memorandum on motion to dismiss for file, and for co-counsel.           1.00         400.00
                                                                                              400.00/hr

   6/7/2021 JHS   Research for motion, want to make sure motion has as much                     2.70       1,080.00
                  precedent as possible.                                                      400.00/hr

           JHS    Continue to Draft answer to MTD which will apply to this case.                2.90       1,160.00
                                                                                              400.00/hr

   6/8/2021 JHS   Calculate, & Draft, Statement of Claim                                        0.90         360.00
                                                                                              400.00/hr

   6/9/2021 JHS   Update Antonio Ramos on status of case because he called and                  0.30         120.00
                  explain what I need from him for initial disclosures.                       400.00/hr

  6/10/2021 JHS   Research more for the Ans. to the MTD because want to make this an            1.70         680.00
                  unbeatable answer. So want to supplement what I have with more.             400.00/hr

           JHS


                                    Draft
                  Continue to draft ans. to mtd. Do not want to submit same motion as in
                  other case, partially because strategically it is a bad move, partly
                  because they seem to be offering their case on a silver platter, before
                  we start, and I want to encourage that. It also helps because they may
                  not notice that this answer has some of the same bones as the motion
                  in the other case, however, it is changed significantly, and there are
                  begging to be more pages, not just more exact argument. Also have to
                  change all tenses in the parts I am taking from old motion. However,
                                                                                                2.30
                                                                                              400.00/hr
                                                                                                             920.00




                  this is going to be a different motion

  6/11/2021 JMB   Meeting with JHS to discuss our Response to Defendant's motion to             0.30    NO CHARGE
                  dismiss.                                                                    350.00/hr

           JMB    Review Defendants' motion to dismiss.                                         0.40         140.00
                                                                                              350.00/hr

           JHS    Edit final draft of ans. to MTD. It is surprising how certain arguments       1.70         680.00
                  needed to be fleshed out, while at the same time, shortened. In the         400.00/hr
                  end there was the same eighteen pages as before, but the 18th page
                  is far shorter. Simplify arguments as much as possible, while making
                  them more direct to the case at hand. .

           JHS    Continue to draft new arguments for answer to motion to dismiss, and          1.90         760.00
                  to look up case law to support them, while simultaneously,                  400.00/hr
                  supplementing the cases I have already cited, with the ones I looked
                  up yesterday. Taking my time to get this argument perfect, because
                  this is a MTD with prejudice, so if not defeated, the case dies on this
                  hill. Also, incorporating new arguments in a way that flows, because
                  they are not flowing naturally, connectors are needed, and
                  amendments to include them in the introduction and conclusion. Now it
                  is 18 pages and the motion in the other case is 13, so I have added a
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                                                                                           Hrs/Rate        Amount

                  lot, but also, importantly, I have amended a lot, to make for a better
                  motion.

  6/11/2021 JHS   Meeting with JMB to discuss our Response to Defendant's motion to            0.30    NO CHARGE
                  dismiss.                                                                   400.00/hr

  6/14/2021 JMB   Review and revise our Response to Defendants' Motion to Dismiss.             1.90         665.00
                                                                                             350.00/hr

           JMB    Meeting with JHS to discuss our Response to Defendants' Motion to            0.30         105.00
                  Dismiss and case strategy.                                                 350.00/hr

           JHS    Meeting with JMB to discuss our Response to Defendants' Motion to            0.30    NO CHARGE
                  Dismiss and case strategy.                                                 400.00/hr

  6/22/2021 JHS   Receive and review Defendants' MTD reply and retrieve and review             1.30         520.00
                  cited cases.                                                               400.00/hr

  6/24/2021 JHS   Draft statement of related cases                                             0.50         200.00
                                                                                             400.00/hr

           JHS



           JHS


           JMB
                                    Draft
                  Communicate with opposing counsel about their desire to consolidate
                  the cases, my clients are unwilling to, so, therefore, I must remain
                  equally unwilling.

                  Discuss consent with JMB.


                  Discuss consent with JHS.
                                                                                               0.30



                                                                                               0.20
                                                                                             400.00/hr

                                                                                               0.20
                                                                                                            450.00



                                                                                                                80.00


                                                                                                                70.00
                                                                                             350.00/hr

  6/29/2021 JHS   Email client case updates on consenting to magistrate, and on their          0.50         200.00
                  response to the statement of claim                                         400.00/hr

  7/12/2021 JMB   Review Order on Defendants' Motion to Dismiss.                               0.70         245.00
                                                                                             350.00/hr

           JMB    Discuss Order on Defendants' Motion to Dismiss with JHS and                  0.30         105.00
                  amendment to Complaint.                                                    350.00/hr

           JHS    Review Order on Defendants' Motion to Dismiss.                               0.70         280.00
                                                                                             400.00/hr

           JHS    Discuss Order on Defendants' Motion to Dismiss with JMB and                  0.30         120.00
                  amendment to Complaint.                                                    400.00/hr

  7/13/2021 JMB   Discuss scheduling and proposed conference call with JHS.                    0.10             35.00
                                                                                             350.00/hr

           JHS    Correspondence with opposing counsel regarding conference call for           0.10             40.00
                  scheduling.                                                                400.00/hr
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                                                                                             Hrs/Rate        Amount

  7/13/2021 JHS   Discuss scheduling and proposed conference call with JMB.                      0.10             40.00
                                                                                               400.00/hr

  7/14/2021 JMB   Conference call with opposing counsel and JHS regarding scheduling.            0.40         140.00
                                                                                               350.00/hr

           JHS    Conference call with opposing counsel and JMB regarding scheduling.            0.40         160.00
                                                                                               400.00/hr

  7/16/2021 JMB   Appear for/ Attend status conference.                                          0.20             70.00
                                                                                               350.00/hr

           JHS    Appear for/ Attend status conference.                                          0.20             80.00
                                                                                               400.00/hr

  7/24/2021 JHS   Amend complaint, although not to happy with it. Amend with the                 1.90         760.00
                  knowledge that they will try to dismiss again, because they told me          400.00/hr
                  that, so my amendment has to be more than just the section on OT,
                  but on the whole thing to make it work better. Going to give it one more
                  try and then over to JMB for a final edit.

  7/26/2021 JMB


           JHS


  7/28/2021 JMB
                                    Draft
                  Receive and review scheduling order from Judge Matthewman.


                  Receive and review scheduling order from Judge Matthewman.


                  Receive and review FLSA Order from the Court.
                                                                                                 0.10
                                                                                               350.00/hr

                                                                                                 0.20
                                                                                               400.00/hr

                                                                                                 0.10
                                                                                               350.00/hr
                                                                                                                  35.00


                                                                                                                  80.00


                                                                                                                  35.00


           JHS    Receive and review FLSA Order from the Court.                                  0.10             40.00
                                                                                               400.00/hr

  7/31/2021 JHS   Amend the complaint one final time, before sending it to JMB for final         0.80         320.00
                  edit.                                                                        400.00/hr

   8/2/2021 JMB   Review and revise our Amended Complaint prepared by JHS.                       0.60         210.00
                                                                                               350.00/hr

   8/5/2021 JMB   Review our finalized statement of claim.                                       0.10             35.00
                                                                                               350.00/hr

           JHS    Draft Statement of Claim                                                       0.90         360.00
                                                                                               400.00/hr

  8/16/2021 JMB   Review Defendants' response to statement of claim.                             0.20             70.00
                                                                                               350.00/hr

           JHS    Begin to Draft Ans. to second motion to dismiss.                               4.50       1,800.00
                                                                                               400.00/hr
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Antonio Ramos                                                                                                Page       5


                                                                                               Hrs/Rate        Amount

  8/16/2021 JHS    Review Defendants' response to statement of claim.                              0.20             80.00
                                                                                                 400.00/hr

  8/19/2021 JHS    Finish Drafting Ans. to second motion to dismiss.                               3.90       1,560.00
                                                                                                 400.00/hr

  8/20/2021 JHS    Edit revise argument and change to ten pages from 7 pages Ans. to               2.10         840.00
                   Second MTD                                                                    400.00/hr

            JMB    Review and revise draft response to Defendants' motion to dismiss.              1.20         420.00
                                                                                                 350.00/hr

  9/21/2021 JMB    Receive and review Order Denying Defendants' Motion to Dismiss.                 0.20             70.00
                                                                                                 350.00/hr

            JHS    Receive and review Order Denying Defendants' Motion to Dismiss.                 0.20             80.00
                                                                                                 400.00/hr

  9/24/2021 GED Draft completion of discovery objections to defendant's request for                0.70    NO CHARGE
                production for JHS review.                                                       175.00/hr




  9/27/2021 JHS
                for JHS review.

                                     Draft
            GED Draft completion of discovery objections to defendant's interrogatories


                   Go over discovery requests with George, he will be handling filling
                   them out with preliminary information. Show him where to put
                   objections, explain what objection I want, and agree to clean it up after
                   he does his thing and retypes everything and puts them in. Also
                   discuss at length what to object to, and who will have answers for
                                                                                                   0.60
                                                                                                 175.00/hr

                                                                                                   0.50
                                                                                                 400.00/hr
                                                                                                                105.00


                                                                                                                200.00




                   what, based on the fact that not all requests, pretty much four of them,
                   do not apply to everyone.

            GED Go over discovery requests with Josh, I will be handling filling them out          0.50    NO CHARGE
                with preliminary information.                                                    175.00/hr

  9/29/2021 GED Review objections made in Defendant's interrogatories and request for              0.40             70.00
                production with JHS and made changes and additions to the                        175.00/hr
                objections.

            GED Draft completion of request for production letter to the client with               0.40             70.00
                simplified request for the clients to gather documents in response to            175.00/hr
                Defendant's discovery.

            JHS    Review objections made in Defendant's interrogatories and request for           0.40         160.00
                   production with GED and directed changes and additions to the                 400.00/hr
                   objections.

  10/1/2021 GED Interview client for responses to interrogatories                                  0.50             87.50
                                                                                                 175.00/hr
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                                                                                                 Hrs/Rate        Amount

  10/6/2021 GED Finalized answers to interrogatories for Mr. Ramos for his review and                0.50             87.50
                notarization.                                                                      175.00/hr

 10/11/2021 JHS    Edit Antonio Ramos' answers to interrogatories                                    0.60         240.00
                                                                                                   400.00/hr

            GED Draft final answers to Defendant's interrogatories for Mr. Ramos for his             0.20             35.00
                review and signature after JHS suggested edits.                                    175.00/hr

            GED Draft and sent Mr. Ramos email attaching answers to interrogatories                  0.10             17.50
                for his review and requesting update to document production to                     175.00/hr
                Defendant.

            JHS    Email to Antonio Ramos about his hesitancy to turn over certain                   0.40         160.00
                   records in light of believing they are private, have to step in and explain     400.00/hr
                   what happens to privacy in a lawsuit, and how his records could really
                   help us if they reflect what they are supposed to, and if not he should
                   tell me so I can deal with any potential situations. Explain the concept
                   of discovery, why they are asking for what he has a problem with, and
                   what will happen if he does not produce.

 10/12/2021 JHS




            JHS
                                     Draft
                   Answer Email from Antonio Ramos responding to my email, and tell
                   him I will object to some things, and fight over it, but other things can
                   only help us, and we need him to produce those things. Answer his
                   questions on what a few of the requests mean, and explain that while I
                   can object, the court can over rule me and make me pay costs.

                   Answer call from Antino Ramos,, work out what he can get me and
                   what he cannot, talk to him about production of more material,. Inform
                                                                                                     0.50
                                                                                                   400.00/hr




                                                                                                     0.30
                                                                                                   400.00/hr
                                                                                                                  200.00




                                                                                                                  120.00

                   him of what is going on in case, which necessitates their inquiries.
                   Learn more about the job.

            JHS    Meet with Josh Bloom and update him on status of discovery and talk               0.50    NO CHARGE
                   strategy.                                                                       400.00/hr

            JMB    Meeting with JHS to discuss discovery responses and case strategy.                0.30         105.00
                                                                                                   350.00/hr

 10/14/2021 GED Draft email and Responded to client regarding clarification of                       0.10             17.50
                instructions to verify interrogatories.                                            175.00/hr

 10/16/2021 JHS    Start to draft RFP, RFA and Rogs, together so that they match and                 1.70         680.00
                   support each other                                                              400.00/hr

 10/18/2021 GED Telephone conference with client Antonio Ramos following up on                       0.20             35.00
                document request from Defendant and status of interrogatories.                     175.00/hr
                Received some documents and verification form.

            GED Received and reviewed bank statements in response to Defendant's                     0.10             17.50
                request for production.                                                            175.00/hr
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                                                                                            Hrs/Rate        Amount

 10/18/2021 GED Meet with Josh about the status of discovery on the Plaintiff.                  0.30    NO CHARGE
                                                                                              175.00/hr

 10/20/2021 GED Organized client documents produced in response to Defendant's                  0.60         105.00
                request for production in preparation for organization and responses.         175.00/hr

            GED Analyzed discovery status for all clients in this case with JHS to              0.30             52.50
                determine strategy for the coming deadlines.                                  175.00/hr

            JHS    Analyzed discovery status for all clients in this case with GED to           0.30    NO CHARGE
                   determine strategy for the coming deadlines.                               400.00/hr

 10/21/2021 GED Reviewed bank statements of Antonio Ramos to ensure consistency                 0.60         105.00
                with Answers to Interrogatories.                                              175.00/hr

            GED Telephone conference with Antonio Ramos regarding the review of                 0.20             35.00
                bank statements in response to Defendant's Request to Produce.                175.00/hr

 10/22/2021 GED Finalized Plaintiff's answers to Defendant's Interrogatories ready to be        0.60         105.00
                served and for JHS review.                                                    175.00/hr

            JHS
                   Interrogatories.

                                     Draft
                   Reviewed final draft of Plaintiff's answers to Defendant's


 10/25/2021 GED Draft email to Mr. Ramos requesting more bank statements.


 10/28/2021 GED Organized entire bank statements pursuant to the work schedule
                provided by client from October 2019-October 2020 redacting portions
                                                                                                0.50
                                                                                              400.00/hr

                                                                                                0.10
                                                                                              175.00/hr

                                                                                                2.50
                                                                                              175.00/hr
                                                                                                             200.00


                                                                                                                 17.50


                                                                                                             437.50

                made while off duty.

  11/1/2021 JHS    Conference with George over outgoing discovery                               0.50         200.00
                                                                                              400.00/hr

            GED Meeting with Mr. Sheskin regarding discovery to be sent out to                  0.50    NO CHARGE
                Defendant. Analyzed inquiries for request for production, request for         175.00/hr
                admissions, and interrogatories to be propounded.

  11/3/2021 JHS    Edit the objections that George put to the RFP we are putting together       1.10         440.00
                   for Ramos. Check with George on some specific issues to see if we          400.00/hr
                   could avoid objections based on having the information, or there being
                   none, while I edited I called him repeat idly.

            JHS    Go line by line through antonio ramos' bank statements to make sure          4.30       1,720.00
                   we are not turning over anything i have not seen.                          400.00/hr

            GED Telephone conference with Mr. Ramos regarding days off from being               0.20             35.00
                on-call.                                                                      175.00/hr

  11/4/2021 GED Revised Mr. Ramos' responses to defendant's request to produce to               0.60         105.00
                add additional responses and to amend certain objections.                     175.00/hr
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                                                                                             Hrs/Rate        Amount

  11/4/2021 GED Completed request for production packet to defendant with bates                  1.70         297.50
                stamps and organized according to responses for client Ramos.                  175.00/hr

  11/8/2021 GED Finalized responses to request for production to ensure proper                   0.80         140.00
                formatting and grammar ready for filing.                                       175.00/hr

 11/16/2021 GED Draft completion of request for production to Defendant without                  1.00         175.00
                instructions, formatting, or revisions.                                        175.00/hr

            GED Draft completion of request for admissions to Defendant without                  0.80         140.00
                instructions, formatting, or revisions.                                        175.00/hr

            GED Draft completion of interrogatories to Defendant without instructions,           0.80         140.00
                formatting, or revisions.                                                      175.00/hr

            JHS    Add to the Interrogatories, requests for production and request for           0.80         320.00
                   admissions simultaneously with George to determine if the three             400.00/hr
                   together miss any key information, end up adding to all three because
                   they were missing some information we need. Add several requests to
                   each set, even though only three to the interrogatories there were only




                                     Draft
                   six, while there are about 70 requests for production.

 11/17/2021 JMB    Receive and review conferral email from opposing counsel.                     0.10             35.00
                                                                                               350.00/hr

            JHS    Receive and review conferral email from opposing counsel.                     0.10             40.00
                                                                                               400.00/hr

            GED Receive and review conferral email from opposing counsel.                        0.10             17.50
                                                                                               175.00/hr

 11/18/2021 JHS    Discuss answer to the conferral on discovery with George. Overall they        0.30         120.00
                   have a weak discovery conferral, in that they do not have much cause        400.00/hr
                   for what they were asking for.

            GED Draft email to client regarding call records in response to Defendant's          0.10             17.50
                discovery conferral letter.                                                    175.00/hr

            JMB    Discuss response to conferral email to our discovery responses with           0.20             70.00
                   JHS.                                                                        350.00/hr

            JMB    Review and revise outbound discovery requests (RFA, RFP, and                  1.20         420.00
                   Interrogatories).                                                           350.00/hr

            GED Discuss answer to the conferral on discovery with JHS. Overall they              0.30             52.50
                have a weak discovery conferral, in that they do not have much cause           175.00/hr
                for what they were asking for.

            JHS    Discuss response to conferral email to our discovery responses with           0.20             80.00
                   JMB.                                                                        400.00/hr
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                                                                                             Hrs/Rate        Amount

 11/24/2021 JMB   Analyze Defendants' Motion to Compel.                                          0.40         140.00
                                                                                               350.00/hr

           JHS    Review Defendants' Motion to Compel.                                           0.40         160.00
                                                                                               400.00/hr

 11/26/2021 JHS   Send email with update on where we are, and what I need to know to             0.40         160.00
                  confer better with Opposing Counsel, now that I have an idea of what         400.00/hr
                  they are pushing, as their motion was far narrower than their conferral,
                  which I answered twice. Need answers from clients to know if they
                  even have the disputed items/docs or can get ahold of them.

 11/29/2021 JHS   Meeting with George About Discovery Conferral, Motion and Order,               0.50         200.00
                  plan strategy to move ahead                                                  400.00/hr

           JHS    Call Antonio Ramos to Get him to answer follow up email on what we             1.20         480.00
                  need to produce some things that were conferred                              400.00/hr

           JHS    Draft first part of response to motion to compel                               1.20    NO CHARGE
                                                                                               400.00/hr




                                    Draft
           GED Begin case analysis regarding response to Defendant's Motion to
               Compel Discovery to apply into the response to motion. Found relevant
               case law and analyzed each case.

           GED Reviewed Defendant's Motion to Compel Better Answers and Exhibits.


           GED Meeting with Mr. Sheskin following up conferral with opposing counsel.
                                                                                                 1.60
                                                                                               175.00/hr


                                                                                                 0.50
                                                                                               175.00/hr

                                                                                                 0.50
                                                                                                              280.00




                                                                                                         NO CHARGE
                                                                                                                  87.50



                                                                                               175.00/hr

           JHS    Meeting with another colleague to discuss how we might compromise              0.20             80.00
                  on discovery and what we will not produce. Colleague is Brian Engle.         400.00/hr
                  Brought to him because he is best compromiser in firm.

 11/30/2021 JHS   Meeting with JMB, my co-counsel, about the discovery situation, he             0.40         160.00
                  was out sick yesterday. First thing discussed was input from other           400.00/hr
                  colleagues who were here yesterday and bothered to opine. Talk about
                  strategy moving forward, as far as what we will give up, then talk about
                  strategy for motion in response, with maximum effectiveness because
                  we will focus on how impractical the Defendant's request is.

           GED Draft case analysis memorandum to use for Plaintiff's Response to                 0.80         140.00
               Defendant's Motion to Compel Discovery.                                         175.00/hr

           JHS    Draft second part of response to motion to compel                              2.60       1,040.00
                                                                                               400.00/hr
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                                                                                                Hrs/Rate        Amount

  12/1/2021 JHS   Mostly rewrite the answer to the motion to compel discovery. It was               2.50       1,000.00
                  good, but it needs to fit better onto five pages, and make its points in a      400.00/hr
                  different order, with solid structure. Then put it together again to get it
                  to flow. Send to George for editing

            GED Meeting with Mr. Sheskin regarding strategy and arguments, as well as               0.70    NO CHARGE
                review, of Defendant's motion to compel, the court's order, and the               175.00/hr
                upcoming conferral meeting.

            JHS   Meeting with GED regarding strategy and arguments, as well as                     0.70         280.00
                  review, of Defendant's motion to compel, the court's order, and the             400.00/hr
                  upcoming conferral meeting.

  12/2/2021 GED Revised memorandum of law to response to Defendant's motion to                      0.70         122.50
                compel with directed revisions.                                                   175.00/hr

  12/3/2021 JMB   Review and revise our response to Plaintiff's motion to compel.                   0.60         210.00
                                                                                                  350.00/hr

  12/7/2021 GED Draft completion of notice of appearance.                                           0.20             35.00




                                     Draft
                                                                                                  175.00/hr

  12/8/2021 JHS   Meet with JMB about correspondence with opposing counsel regarding                0.10             40.00
                  meet and confer timing for the discovery dispute.                               400.00/hr

            JMB   Meet with JHS about correspondence with opposing counsel regarding                0.10             35.00
                  meet and confer timing for the discovery dispute.                               350.00/hr

  12/9/2021 GED Prepared outline of case summaries for motion to compel hearing.                    0.50             87.50
                                                                                                  175.00/hr

            GED Prepared outline of arguments for motion to compel hearing.                         0.30             52.50
                                                                                                  175.00/hr

            JMB   Analyze joint response to discovery dispute.                                      0.30         105.00
                                                                                                  350.00/hr

            JMB   Preparation for discovery hearing with JHS.                                       0.60         210.00
                                                                                                  350.00/hr

            GED Meeting in preparation for tomorrow's motion to compel discovery                    0.50    NO CHARGE
                hearing with Mr. Sheskin. Discussed case law, strategy, issues, and               175.00/hr
                facts of the case.

            JHS   Preparation for hearing tomororw                                                  4.20       1,680.00
                                                                                                  400.00/hr

            JHS   Meeting in preparation for tomorrow's motion to compel discovery                  0.50         200.00
                  hearing with GED. Discussed case law, strategy, issues, and facts of            400.00/hr
                  the case.
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                                                                                             Hrs/Rate        Amount

  12/9/2021 JHS   Preparation for discovery hearing with JMB.                                    0.60    NO CHARGE
                                                                                               400.00/hr

 12/10/2021 JHS   In Court for Discovery Dispute.                                                0.30         120.00
                                                                                               400.00/hr

 12/13/2021 JMB   Analyze client correspondence and attached documents.                          0.40         140.00
                                                                                               350.00/hr

 12/14/2021 JMB   Meeting with JHS to discuss call with opposing counsel.                        0.20             70.00
                                                                                               350.00/hr

            JMB   Meeting with JHS to discuss case strategy.                                     0.60         210.00
                                                                                               350.00/hr

            JHS   Meeting with JMB to discuss case strategy.                                     0.60         240.00
                                                                                               400.00/hr

            JHS   Meeting with JMB to discuss call with opposing counsel.                        0.20             80.00
                                                                                               400.00/hr

 12/15/2021 JMB


            JHS


            JMB
                  for retaliation.


                  for retaliation.
                                     Draft
                  Attention to correspondence with outside counsel regarding new claim


                  Attention to correspondence with outside counsel regarding new claim


                  Meeting with JHS to discuss retaliation claim, our evidence of same,
                  rule 34 inspection, and strategy for pleading.
                                                                                                 0.20
                                                                                               350.00/hr

                                                                                                 0.20
                                                                                               400.00/hr

                                                                                                 0.60
                                                                                               350.00/hr
                                                                                                         NO CHARGE
                                                                                                                  70.00


                                                                                                                  80.00




            JHS   Meeting with JMB to discuss retaliation claim, our evidence of same,           0.60         240.00
                  rule 34 inspection, and strategy for pleading.                               400.00/hr

 12/17/2021 JMB   Prepare draft correspondence to Mr. Cascino regarding our position on          1.10         385.00
                  amending the complaint and addressing the issues he identified in his        350.00/hr
                  conferral correspondence.

            JHS   Reviewed and analyzed first draft of second set of request for                 0.40         160.00
                  production to Defendant from GED.                                            400.00/hr

            JHS   Reviewed and analyzed first draft of second set of request for                 0.30         120.00
                  admissions to Defendant from GED.                                            400.00/hr

            GED Draft first draft of second set of request for admissions to Defendant           0.80         140.00
                for Mr. Sheskin's review.                                                      175.00/hr

            GED Draft first draft of second set of request for production to Defendant for       1.60         280.00
                Mr. Sheskin's review.                                                          175.00/hr

 12/20/2021 GED Revised outgoing email to opposing counsel regarding amended                     0.30             52.50
                complaint.                                                                     175.00/hr
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                                                                                           Hrs/Rate        Amount

 12/20/2021 JHS   Draft correspondence to opposing counsel regarding retaliation claim,        0.60         240.00
                  evidence of same, and deposition scheduling.                               400.00/hr

            JMB   Analyze draft discovery to defendants.                                       0.70         245.00
                                                                                             350.00/hr

            GED Revised completion of second set of request for production ready for           0.30             52.50
                filing from JHS revisions and suggestions.                                   175.00/hr

            GED Revised completion of second set of request for admissions ready for           0.40             70.00
                filing from JHS revisions and suggestions.                                   175.00/hr

            JHS   Receive and review final version of second set of request for                0.70         280.00
                  production to defendants by George make edits and finalized.               400.00/hr

            JHS   Receive and review final version of second set of request for                0.50         200.00
                  admissions to defendants by George make edits and finalized.               400.00/hr

 12/21/2021 GED Reviewed contract provided by opposing counsel between FDI and                 1.40    NO CHARGE
                FDOT.                                                                        175.00/hr

            JHS




 12/22/2021 JHS
                                    Draft
                  In depth review of contract provided by opposing counsel between FDI
                  and FDOT, take notes, color code, highlight, note questions I have to
                  see if same questions everyone else has, and note the penalties for
                  late arrivals at call outs. Also note the necessity of round the clock
                  service, necessitating on call time, in contract.

                  Correspondence with client regarding retaliation and write ups.
                                                                                               1.60
                                                                                             400.00/hr




                                                                                               0.30
                                                                                             400.00/hr
                                                                                                            640.00




                                                                                                            120.00


 12/23/2021 JHS   Correspondence with opposing counsel regarding spoliation,                   0.40         160.00
                  inspection, depositions, etc.                                              400.00/hr

 12/27/2021 GED Review of case file with Mr. Sheskin regarding amended complaint and           0.40             70.00
                trial strategy in light of new correspondence with clients.                  175.00/hr

            JHS   Review of case file with Mr. Dahdal regarding amended complaint and          0.40         160.00
                  trial strategy in light of new correspondence with clients.                400.00/hr

 12/28/2021 JMB   Attention to correspondence with opposing counsel regarding his              0.10             35.00
                  request for extension of time.                                             350.00/hr

            JHS   Correspondence with opposing counsel regarding his request for               0.10             40.00
                  extension of time.                                                         400.00/hr

            GED Receive and review emails with opposing counsel regarding his                  0.10             17.50
                request for extension of time.                                               175.00/hr
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                                                                                             Hrs/Rate        Amount

   1/7/2022 JHS   First read through of produced materials 700 plus pages, just a read           2.90       1,160.00
                  through, and taking of notes as to what we have, and what we do not          400.00/hr
                  have, not yet critically analyzing and color coding, and taking notes on
                  substance. This is to check what we need to compel.

            GED Reviewed production documents of over 700 pages from Defendant's                 1.50    NO CHARGE
                responses to Request for Production.                                           175.00/hr

            JMB   Analyze Defendants' responses to our discovery requests, including             2.60    NO CHARGE
                  700 pages of production                                                      350.00/hr

  1/10/2022 GED Case analysis on objections and issues presented from responses to               1.50    NO CHARGE
                Request for Admissions for conferral letter.                                   175.00/hr

            GED Review the answers to our request for admissions, color code,                    1.20    NO CHARGE
                highlight, strategies with JHS.                                                175.00/hr

            JHS   Review the answers to our request for admissions, color code,                  1.20         480.00
                  highlight, strategies with GED.                                              400.00/hr




                                    Draft
  1/11/2022 GED Case analysis on objections and issues presented from responses to               2.00         350.00
                Request for Admissions for conferral letter.                                   175.00/hr

            GED Revised Rule 26 disclosure to ensure accurate information and proper             0.30             52.50
                formatting ready for service.                                                  175.00/hr

            JHS   Draft amended rule 26 disclosures.                                             0.40         160.00
                                                                                               400.00/hr

            GED Analyzed responses to request for production with Mr. Sheskin to                 0.60    NO CHARGE
                discuss strategy and responses to Defendant's objections.                      175.00/hr

            JHS   Review, take notes, look up cases for future review, for the defendants        0.60         240.00
                  answers to RFP with GED.                                                     400.00/hr

  1/12/2022 JHS   Review and Analyze, Antonio Ramos' time records and application                2.30         920.00
                  materials turned over in discovery, color coat, add notes, add               400.00/hr
                  bookmarks in file, organize for subsequent use, within the pdf, by
                  separating out what I need most.

            GED Case analysis regarding publicly accessible information and whether              0.80         140.00
                such information is discoverable.                                              175.00/hr

            GED Meeting and Analysis of Defendant's responses to interrogatories with            0.60         105.00
                Mr. Sheskin to determine objections to overrule and strategy for               175.00/hr
                compelling discovery.

            JHS   Review with GED the interrogatory answers and color code take,                 0.60         240.00
                  notes, and decide what is needing to be compelled, next step is to           400.00/hr
                  narrow all responses that need to be compelled into groups, to more
                  easily address.
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                                                                                               Hrs/Rate        Amount

  1/12/2022 JHS    Review and Analyze, discovery groups formed by George off of our                1.20         480.00
                   color coded and fully notated versions we formed of the discovery,            400.00/hr
                   realize he has grouped them by opponent activity as far as being
                   evasive, violating rules, and feigning ignorance. Come up with own list
                   of what we really need responses to, and how they fit in groups.

  1/13/2022 JHS    Review discovery groups we made to determine what order to address              0.50         200.00
                   things in, what to let slide, and what to allow to continue with GED, who     400.00/hr
                   had really good input on what the defendant is hiding, and grouping the
                   conferral by their behavior, compared to the motion where we proceed
                   against topics. I reviewed the discovery to amend GED's topic list from
                   yesterday, so we extensively discussed the as mended list, and put
                   things on and took things off.

            JMB    Receive and review Defendant's amended Rule 26 disclosures.                     0.10             35.00
                                                                                                 350.00/hr

            JHS    Shepardize defendant's cases, read them, take notes, and take notes             2.20         880.00
                   on shepardization results.                                                    400.00/hr




                                     Draft
            GED Narrow objections to Defendant's responses to Plaintiff's discovery for            0.50    NO CHARGE
                conferral letter with JHS.                                                       175.00/hr

  1/14/2022 JHS    Draft of conferral letter for Chris and Peter on Discovery Issues.              2.10         840.00
                   Continue to use the chart that George and I made grouping together            400.00/hr
                   areas of discovery, and write a very through and very complete
                   conferral letter that is way too long and needs editing and focus,
                   because it is all stuff that they did not do, or objected to, or did not
                   produce, or played games with, but the Court will only have patience
                   for so much, and their discovery is a series of non-answers.

  1/17/2022 GED Edit conferral letter to opposing counsel for JHS and JMB final review             0.20             35.00
                re Defendant's responses to Plaintiff's Discovery.                               175.00/hr

            JHS    Review production material and take notes, color code and record                2.20         880.00
                   questions to ask about, and what to ask for more in production.               400.00/hr

            JHS    Edit/Revise conferral letter for Chris and Peter on Discovery Issues.           1.30         520.00
                   Cut down from nearly thirty pages, select areas for deleting where we         400.00/hr
                   could use the discovery, but there are bigger fish to fry. Compare the
                   letter to the highlighted topic area grouped list we have to determine if
                   all highly relevant and necessary areas are covered.

  1/18/2022 JMB    Review and revise conferral memo prepared by JHS.                               0.40         140.00
                                                                                                 350.00/hr

            JMB    Talk to JHS and GED about the production so far and get their                   0.40         140.00
                   impressions of issues like how we approach the fact that the job              350.00/hr
                   description produced says must reply in a half hour, and the Defendant
                   denies same in answers to RFA
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                                                                                            Hrs/Rate        Amount

  1/18/2022 GED Talk to JHS and JMB about the production so far and get their                   0.40    NO CHARGE
                impressions of issues like how we approach the fact that the job              175.00/hr
                description produced says must reply in a half hour, and the Defendant
                denies same in answers to RFA

            JHS    Talk to Josh B. and GED about the production so far and get their            0.40         160.00
                   impressions of issues like how we approach the fact that the job           400.00/hr
                   description produced says must reply in a half hour, and the Defendant
                   denies same in answers to RFA

  1/19/2022 JHS    Meet with GED to discuss parts of the production and give him a few          0.70         280.00
                   assignments on same.                                                       400.00/hr

            GED Meet with JMB to discuss parts of the production and obtained several           0.70         122.50
                assignments on same.                                                          175.00/hr

  1/24/2022 JMB    Analyze Defendants' responses to Ramos's discovery requests.                 1.20         420.00
                                                                                              350.00/hr

  1/28/2022 JHS    Receive and review Defendants' response to our meet and confer letter        0.10             40.00




                                     Draft
                                                                                              400.00/hr

            JHS    Meeting with JMB on Defendants' response to our meet and confer              0.30         120.00
                   letter.                                                                    400.00/hr

            JMB    Meeting with JHS on Defendants' response to our meet and confer              0.30         105.00
                   letter.                                                                    350.00/hr

  1/31/2022 GED Strategy regarding conferral conference with opposing counsel on                0.80         140.00
                Defendant's responses to Plaintiff's first set of discovery. Outlined         175.00/hr
                main points and concessions, as well as other issues to be resolved
                between the parties.

            JHS    Meeting With GED on the Discovery Conferral that Opposing Counsel            0.80         320.00
                   Sent Friday. Get topics ready for meeting with JMB who will also have      400.00/hr
                   stuff to include. We are formulating broad topic areas to confer on.
                   Then we will fill in details with JMB.

            JMB    Meeting with JHS and GD to review Defendants' conferral letter and           0.60         210.00
                   prepare for meet and confer conference call with Defense counsel.          350.00/hr

            JHS    Meeting with JMB and GED to review Defendants' conferral letter and          0.60         240.00
                   prepare for meet and confer conference call with Defense counsel.          400.00/hr

            GED Meeting with JMB and GED to review Defendants' conferral letter and             0.60    NO CHARGE
                prepare for meet and confer conference call with Defense counsel.             175.00/hr

   2/2/2022 JHS    Meeting in advance of calling to confer                                      0.20             80.00
                                                                                              400.00/hr
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                                                                                             Hrs/Rate        Amount

   2/2/2022 JMB    Prepare for meeting RE discovery responses with Defense counsel.              0.20             70.00
                                                                                               350.00/hr

            JMB    Review and revise draft correspondence to defense counsel                     0.10             35.00
                   summarizing our discovery meet and confer.                                  350.00/hr

            GED Prepare and analyze for Meet and Confer with opposing counsel                    0.20             35.00
                regarding defendant's responses to plaintiff's first discovery.                175.00/hr

            GED Analyzed any outstanding remaining issues for motion to compel better            0.60         105.00
                responses to Plaintiff's discovery in preparation for conferral email..        175.00/hr

            GED Draft lengthy email to opposing counsel outlining all points from meet           0.50             87.50
                and confer of Defendant's responses to Plaintiff's discovery.                  175.00/hr

            JMB    Conferral meeting RE discovery responses with Defense counsel.                0.20             70.00
                                                                                               350.00/hr

            JHS    Discovery conferral with OC call                                              0.20             80.00
                                                                                               400.00/hr




   2/3/2022 JHS                      Draft
            GED Meet and Confer with opposing counsel regarding defendant's
                responses to plaintiff's first discovery.

                   Meeting with GED about what is left to compel and how to compel it
                   after the concessions that the other side made when conferring. To the
                   Defendants' credit they were very accommodating on conferral.

            GED Meeting with JHS about what is left to compel and how to compel it
                                                                                                 0.20
                                                                                               175.00/hr

                                                                                                 0.30
                                                                                               400.00/hr


                                                                                                 0.30
                                                                                                                  35.00


                                                                                                              120.00



                                                                                                                  52.50
                after the concessions that the other side made when conferring.                175.00/hr

   2/7/2022 GED Draft follow up email to opposing counsel outlining all points from meet         0.10             17.50
                and confer of Defendant's responses to Plaintiff's discovery and               175.00/hr
                deadline to provide amended responses.

   2/8/2022 JMB    Attention to correspondence with Mr. Cascino regarding outstanding            0.10             35.00
                   documents.                                                                  350.00/hr

  2/15/2022 GED Reviewed and analyzed amended responses to Plaintiff's discovery.                0.40             70.00
                Found multiple issues to discuss with Mr. Sheskin.                             175.00/hr

            JHS    Analyze amended discovery responses, and mark up and compare to               0.50         200.00
                   original email and agreement on what would be produced, to decide           400.00/hr
                   what to compel, further, obviously what stands out is that they did not
                   produce the website materials they promised. When compared to list,
                   of compromise, they did not do everything necessary, and just put new
                   objections in some places, but they did comply significantly enough
                   that I wont move to compel, if I get the web site quickly

  2/17/2022 GED Meeting with JHS on issues found in Defendant's amended discovery                0.30             52.50
                responses.                                                                     175.00/hr
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                                                                                             Hrs/Rate        Amount

  2/17/2022 JHS    Meeting with GED on issues found in Defendant's amended discovery             0.30         120.00
                   responses.                                                                  400.00/hr

  2/18/2022 JHS    Analyze the website print-out from 2020. Find the same entry as               0.70         280.00
                   George as far as 30 min. response time.                                     400.00/hr

            GED Reviewed and analyzed amended responses to Plaintiff's discovery in              0.20             35.00
                meeting with Mr. Sheskin.                                                      175.00/hr

            JHS    Reviewed and analyzed amended responses to Plaintiff's discovery in           0.20             80.00
                   meeting with Mr. Dahdal                                                     400.00/hr

            GED Reviewed and analyzed amended discovery production with                          0.50             87.50
                Defendant's websites. Found relevant information, highlighted, and             175.00/hr
                informed Mr. Sheskin of the findings.

  2/21/2022 JMB    Analyze new discovery production from defendants.                             0.40         140.00
                                                                                               350.00/hr

   3/1/2022 JHS    Meeting with Mr. Dahdall to discuss plan of action for depositions,           0.30         120.00




                                       Draft
                   order of depositions, and steps needed to prepare for depositions.          400.00/hr

            GED Draft follow up email to opposing counsel to schedule deposition dates           0.10             17.50
                and communicate order of depositions.                                          175.00/hr

            GED Meeting with Mr. Sheskin to discuss plan of action for depositions,              0.30             52.50
                order of depositions, and steps needed to prepare for depositions.             175.00/hr

   3/4/2022 JHS    Draft 30(b)(6) initial list of the topics.                                    1.70         680.00
                                                                                               400.00/hr

  3/10/2022 GED Draft notice of taking deposition of FDI's corporate representative with         0.60         105.00
                revised areas of inquiry for JHS review to provide to opposing counsel         175.00/hr
                according to his request.

            JMB    Review final notice of taking corporate rep depo to provide to opposing       0.20             70.00
                   counsel.                                                                    350.00/hr

  3/13/2022 JHS    Review and analyze discovery production first 350 pages for depos,            3.10       1,240.00
                   take notes, make flags, and bookmarks, start writing questions.             400.00/hr

  3/22/2022 JHS    Meeting with George Dahdal to split up tasks for the purpose of being         0.30         120.00
                   prepared for depositions. Assigned first tasks, will be other tasks and     400.00/hr
                   meetings.

            GED Meeting with JHS to split up tasks for the purpose of being prepared             0.30             52.50
                for depositions. Discussed first tasks, will be other tasks and meetings.      175.00/hr

  3/23/2022 GED Researched deposition list and outside sources for possible terminated           0.50             87.50
                deponent from FDI to subpoena.                                                 175.00/hr
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                                                                                               Hrs/Rate        Amount

  3/24/2022 GED Reviewed lengthy correspondence with clients concerning depo prep                  0.30             52.50
                in preparation for depositions.                                                  175.00/hr

  3/28/2022 GED Draft and sent email to clients to confirm deposition training date and            0.10             17.50
                time.                                                                            175.00/hr

            JHS    Start to Review and analyze SOC and Discovery to come to a number               1.30         520.00
                   for a demand, which the other side has requested.                             400.00/hr

  3/29/2022 GED Reviewed and analyzed settlement amount calculation to determine                   0.60    NO CHARGE
                highest and lowest amount for settlement, fees, costs, and settlement            175.00/hr
                authority with JHS.

            JMB    Revisions to draft demand letter.                                               0.40         140.00
                                                                                                 350.00/hr

            GED Revised demand letter for settlement to opposing counsel to ensure                 0.30             52.50
                proper formatting and grammar for finalization to opposing counsel.              175.00/hr

            JHS    Finish Review and analyze SOC and Discovery to come to a number                 1.60         640.00




                                     Draft
                   for a demand, which the other side has requested. Now we need to              400.00/hr
                   break it down for each client, fairly, which I believe I have figured out
                   how to do, but will have George and I do it together to check the
                   veracity of my computations, and to add anything he thinks, we need to
                   add, to the equation. Long review of possibilities of win and loss, as
                   basis for this, and accounting discounts in for the fact that I am not
                   sure we will prevail on the retaliation claim. Plus had to reference our
                   billing records to decide what to ask for.

            JHS    Field call from Antonio Ramos about settlement, and whether we are              0.30         120.00
                   still preparing for the depositions, on thursday. .                           400.00/hr

            JHS    Reviewed and analyzed settlement amount calculation to determine                0.60         240.00
                   highest and lowest amount for settlement, fees, costs, and settlement         400.00/hr
                   authority. Divided by client, do calculations

            JHS    Draft letter to Plaintiffs telling them of the Demand I am sending,, why        0.80         320.00
                   they should settle if that demand is met,, and what amount they would         400.00/hr
                   get, to get approval for clients for authority for minimum, ask them all
                   to respond in writing.

            JHS    Field e-mail following call, from Antonio Ramos about settlement, and           0.30         120.00
                   whether we are still preparing for the depositions, on thursday. .            400.00/hr

   4/4/2022 JHS    Preparation meeting with GED for the clients coming in to be coached.           0.20             80.00
                   Will meet again tomorrow to present what we have done to each other.          400.00/hr

            GED Meeting with JHS for the clients coming in to be coached. Will meet                0.20             35.00
                again tomorrow showing what we have done for prepping the clients.               175.00/hr
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                                                                                           Hrs/Rate        Amount

   4/4/2022 JHS   Draft practice questions for thursday's deposition prep.                     1.50         600.00
                                                                                             400.00/hr

   4/5/2022 GED Reviewed and analyzed entire bank records, discovery responses,                1.70    NO CHARGE
                Defendant's discovery, and documents, to create practice questions           175.00/hr
                and find weaknesses in the case for deposition preparation. Made
                notes and comments to provide to JHS.

   4/6/2022 JHS   Send letter to everyone reminding them of the thursday prep session          0.20             80.00
                                                                                             400.00/hr

            JHS   Draft Deposition preparation sheet, charging to this and other case,         1.80         720.00
                  half and half.                                                             400.00/hr

            JHS   Revised George's Amended Statement of Claim                                  0.30         120.00
                                                                                             400.00/hr

            GED Draft amended statement of claim for client for approval and for filing.       0.70         122.50
                                                                                             175.00/hr




                                     Draft
            GED Prepared all documents and exhibits to provide to clients and support          0.70         122.50
                documents for mock deposition.                                               175.00/hr

   4/7/2022 GED Deposition preparation and training with mock deposition.                      1.30    NO CHARGE
                                                                                             175.00/hr

            GED Finalize preparation binder for clients organizing all pleadings,              1.50    NO CHARGE
                discovery responses, and deposition information sheet.                       175.00/hr

            JMB   Attend first deposition prep session with all plaintiffs.                    1.30         455.00
                                                                                             350.00/hr

            JHS   Preparation for meeting with clients to prep them for depo with JMB          1.20         480.00
                  and GED, however, interrupted by client coming early.                      400.00/hr

            JMB   Prepare for first deposition prep session with all plaintiffs.               1.20         420.00
                                                                                             350.00/hr

            GED Preparation for meeting with clients to prep them for depo with JMB            1.20    NO CHARGE
                and JHS, however, interrupted by client coming early.                        175.00/hr

  4/11/2022 GED Email chain with Mr. Ramos to schedule deposition training dates to            0.10             17.50
                work around his work schedule.                                               175.00/hr

            JHS   Preparation for depositions by re-reading the discovery responses,and        1.40         560.00
                  marking them up so I can ask whoever signs them the right questions,       400.00/hr
                  about what seems to be conflicting information between the production
                  and the interrogatory responses, and outline depo questions on
                  interrogatories while marking them up.
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                                                                                               Hrs/Rate        Amount

  4/12/2022 JMB    Internal meeting regarding deposition order and settlement.                     0.20             70.00
                                                                                                 350.00/hr

             JHS   Preparation for depositions, Prepare preliminary Laura Porter topic list.       1.20         480.00
                                                                                                 400.00/hr

             GED Internal meeting regarding deposition order and settlement.                       0.20             35.00
                                                                                                 175.00/hr

             JHS   Internal meeting regarding deposition order and settlement.                     0.20             80.00
                                                                                                 400.00/hr

             JHS   Preparation for depositions, Prepare preliminary Laura Porter topic list.       0.70    NO CHARGE
                                                                                                 400.00/hr

  4/13/2022 GED Draft first round of practice questions for deposition training of Antonio         1.50    NO CHARGE
                Ramos                                                                            175.00/hr

             GED Reviewed each bank transaction in detail, all discovery responses, and            3.20    NO CHARGE
                 all responses from Defendant, including documents in preparation for            175.00/hr




                                     Draft
                 deposition questions for deposition training.

  4/14/2022 JHS    Preparation for depositions of our own client Mr. Ramos                         2.30         920.00
                                                                                                 400.00/hr

  4/15/2022 JMB    Review and revise draft Notices of Deposition for: 30(b)(6) rep; Daniel         0.30         105.00
                   Porter; Laura Porter; and, John Matthews.                                     350.00/hr

             GED Sent email to client regarding updated deposition dates.                          0.10             17.50
                                                                                                 175.00/hr

             JHS   Preparation for depositions prepare on weaknesses of all Plaintiffs,            2.70       1,080.00
                   and outline them so that I can ask about them specifically.                   400.00/hr

             JHS   Review and revise first 30 deposition questions of Daniel Porter by             0.40         160.00
                   GED.                                                                          400.00/hr

             GED Draft first 30 deposition questions of Daniel Porter for JHS review.              1.20         210.00
                                                                                                 175.00/hr

             GED Analyzed Defendant's discovery in preparation for deposition questions            1.70         297.50
                 of Daniel Porter.                                                               175.00/hr

  4/19/2022 GED Reviewed and analyzed Defendant's objections to corporate rep areas                0.60         105.00
                of inquiry.                                                                      175.00/hr

             JHS   Preparation for deposition of Laura Porter, by tearing apart discovery,         2.10         840.00
                   and looking for information that will lead to her being an employer, as       400.00/hr
                   that term is defined by the FLSA, and by looking for any way that would
                   link her to the on-call system, while working preliminary outline of
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                                                                                              Hrs/Rate        Amount

                   deposition of Laura Porter as corporate rep. So adding many questions
                   on the company and general operating procedures.

  4/19/2022 GED Reviewed and analyzed Defendant's objections to corporate rep areas               0.60         105.00
                of inquiry.                                                                     175.00/hr

            JHS    Reviewed and analyzed Defendant's objections to corporate rep areas            0.80         320.00
                   of inquiry.                                                                  400.00/hr

  4/20/2022 GED Draft broad areas of topics for depositions with JHS in preparation for           1.00         175.00
                final deposition question review before adding citations and exhibits.          175.00/hr

            JHS    Preparation for depositions by refining, and completing, corp. rep.            3.70       1,480.00
                   questions for Laura Porter                                                   400.00/hr

  4/21/2022 GED Respond to opposing counsel regarding objections to areas of inquiry              0.30             52.50
                and his response to our position to the objections.                             175.00/hr

  4/22/2022 JHS    Preparation for depositions                                                    3.10    NO CHARGE
                                                                                                400.00/hr

  4/23/2022 JHS


  4/24/2022 JHS
                   Laura Porter

                                     Draft
                   Preparation for depositions by completing corp. rep. questions for


                   Preparation for deposition of John Matthews as he is the project
                   manager, and there are a lot of specifics about the project we do not
                   know, he is also the contact for FDOT. Want to depose FDOT so set
                   up a ton of questions that hopefully he answers with, "I dont know, ask
                   FDOT." Go through contract bid to understand his exact role, and the
                                                                                                  4.10
                                                                                                400.00/hr

                                                                                                  3.90
                                                                                                400.00/hr
                                                                                                             1,640.00


                                                                                                             1,560.00




                   exact parameters of the project which he will know better than the
                   corporate representative Laura Porter.

  4/25/2022 GED Responded to client Ramos' email asking for status of settlement and              0.10             17.50
                for depos.                                                                      175.00/hr

            JHS    Preparation for depositions of Matthews and Porter, do color coated            5.80    NO CHARGE
                   outlines of both, and spend all night working into the night with George     400.00/hr
                   on exhibit prep, and outline prep

            JHS    Preparation for deposition of John Matthews as OC at last minute               4.20       1,680.00
                   changed the corporate rep to John Matthews, and now need to                  400.00/hr
                   change outlines of Porter and Matthews, to reflect change, while
                   editing them, color coding them, and adding to them, this last minute
                   change has occasioned a lot of last minute work,

            GED Preparation for depositions of Mathew and Porter working with JHS on              5.80    NO CHARGE
                exhibit prep and outline prep.                                                  175.00/hr

  4/26/2022 JHS    Preparation for depositions John Matthews as OC at last minute                 4.90    NO CHARGE
                   changed the corporate rep to John Matthews, and now need to                  400.00/hr
                   change outlines of Porter and Matthews, to reflect change, while
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                                                                                                Hrs/Rate        Amount

                   editing them, color coding them, and adding to them, they are not even
                   complete, and we only have a few days until deposition.

  4/26/2022 GED Created deposition questions, edited JHS deposition questions, added                2.00    NO CHARGE
                all citations after review of all documents and discovery to the depo of          175.00/hr
                Laura Porter.

            GED Created deposition questions, edited JHS deposition questions, added                2.30    NO CHARGE
                all citations after review of all documents and discovery to the depo of          175.00/hr
                John Matthews.

  4/27/2022 JHS    Preparation for depositions of John Matthews to apply new defenses               1.80         720.00
                   from Defendant without GED.                                                    400.00/hr

            GED Preparation of the Deposition of Laura Porter, created summary                      2.50    NO CHARGE
                judgment checklist, created outline for deposition and revised all                175.00/hr
                questions for the deposition of Laura Porter with JHS in preparation for
                tomorrow's deposition..

            JHS    Preparation of the Deposition of Laura Porter, created summary                   2.50       1,000.00




                                     Draft
                   judgment checklist, created outline for deposition and revised all             400.00/hr
                   questions for the deposition of Laura Porter with GED in preparation
                   for tomorrow's deposition.

  4/28/2022 JHS    Preparation for deposition tomorrow, based on new defense we                     2.50    NO CHARGE
                   learned today, including almost all night cram session with GED                400.00/hr

            JHS    Deposition of Laura Porter                                                       1.20         480.00
                                                                                                  400.00/hr

            GED Attended deposition of Laura Porter.                                                1.20         210.00
                                                                                                  175.00/hr

            JHS    Preparation for deposition tomorrow, based on new defense we                     2.50       1,000.00
                   learned today, including almost all night cram session with GED                400.00/hr

            GED Preparation for deposition tomorrow, based on new defense we                        2.50    NO CHARGE
                learned today, including almost all night cram session with JHS.                  175.00/hr

  4/29/2022 JHS    Deposition of John Matthews                                                      1.90         760.00
                                                                                                  400.00/hr

            GED Compiled all information and notes gathered from the deposition and                 2.00    NO CHARGE
                reviewed outstanding issues for summary judgment.                                 175.00/hr

            GED Deposition of John Matthews                                                         1.90         332.50
                                                                                                  175.00/hr

   5/2/2022 JHS    Draft and file notice of mediator selection after conferring with OC on it       0.50         200.00
                   being Marlene as the mediator.                                                 400.00/hr
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                                                                                           Hrs/Rate        Amount

   5/2/2022 GED Reviewed court deadlines to determine mediation deadline.                      0.10             17.50
                                                                                             175.00/hr

            JMB   Case strategy meeting with JHS (concerning last week's depositions).         0.30         105.00
                                                                                             350.00/hr

            JHS   Case strategy meeting with JMB (concerning last week's depositions).         0.30         120.00
                                                                                             400.00/hr

   5/4/2022 JP    Telephone conference with Mediator's office requesting available             0.30             37.50
                  dates for mediation. Draft email to clients with proposed dates. Memo      125.00/hr
                  to J. Sheskin re same.

            JMB   Attention to mediation scheduling.                                           0.30         105.00
                                                                                             350.00/hr

   5/5/2022 JP    Draft email to opposing counsel with proposed dates for mediation.           0.10             12.50
                                                                                             125.00/hr

   5/7/2022 JHS   Preparation for HR Deposition and duces tecum documents we are               2.10         840.00




                                    Draft
                  hoping they bring, since last time duces tecum documents were not          400.00/hr
                  produced. Twenty three areas of inquiry added to date, along with
                  supporting questions. Continued from preparation from last month.

   5/9/2022 JHS   Email Chris about deposition dates                                           0.10             40.00
                                                                                             400.00/hr

  5/10/2022 GED Confirmed deposition dates with client via telephone and provided              0.30             52.50
                updates to the status of the case.                                           175.00/hr

  5/11/2022 GED Responded to client's email confirming new dates of deposition                 0.10             17.50
                availability after his concerns of a conflict.                               175.00/hr

  5/12/2022 JHS   Meet with George Twice to Discuss Depositions and Strategy for               0.70         280.00
                  Depositions and Deposition Preparation                                     400.00/hr

            JHS   Preparation for deposition of Sandra Barnes,. write questions based on       1.70         680.00
                  the discipline and complaints, we knew took place, but we need her to      400.00/hr
                  testify too, like other people getting written up for various reasons
                  related to not responding to a bridge.

            GED Meeting with JHS to Discuss Depositions and Strategy for Depositions           0.70    NO CHARGE
                and Deposition Preparation.                                                  175.00/hr

  5/13/2022 GED Analyzed deposition transcript of John Matthews.                               1.50    NO CHARGE
                                                                                             175.00/hr

            GED Communicate with opposing counsel via email chain to confirm dates             0.10             17.50
                for plaintiffs' deposition.                                                  175.00/hr
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                                                                                             Hrs/Rate        Amount

  5/13/2022 GED Draft notice of deposition of Sandra Barnes with requests duces tecum.           0.50             87.50
                                                                                               175.00/hr

            GED Draft notice of deposition of Eric Obel.                                         0.30             52.50
                                                                                               175.00/hr

            GED Draft notice of deposition of Daniel Porter.                                     0.30             52.50
                                                                                               175.00/hr

            GED Meeting with JHS re duces tecum requests for Sandra Barnes and any               0.50    NO CHARGE
                outstanding documents needed for the deposition, strategy, and                 175.00/hr
                modifying deposition notices.

            JHS   Talk to GED about how to modify the deposition notices, and what the           0.50         200.00
                  strategy is for preparation of preparation sessions, for client depos.       400.00/hr

            JHS   Analyzed deposition transcript of John Matthews, took notes,                   2.20         880.00
                  evaluated compared to our summary judgment check list, find section          400.00/hr
                  on asking us to ask FDOT, and highlight, along with several other key
                  areas. Compare, while analyzing to original deposition outline to see




                                    Draft
                  what we missed, so we can hit it in future depositions, while
                  highlighting that outline and excerpting it into separate document. This
                  was all done simultaneously in the same sitting, and the same three
                  breakthroughs of the deposition transcript

            JHS   Reciew notice of deposition of Sandra Barnes with requests duces               0.20             80.00
                  tecum.                                                                       400.00/hr

            JHS   Edit/Review notice of deposition of Eric Obel.                                 0.10             40.00
                                                                                               400.00/hr

            JHS   Edit/Review notice of deposition of Daniel Porter.                             0.10             40.00
                                                                                               400.00/hr

  5/14/2022 JHS   All day preparation for deposition of Eric Obel, continued from when he        3.90    NO CHARGE
                  was supposed to be deposed weeks ago. Adjust to new defenses, and            400.00/hr
                  add tens of areas of inquiry, and questions specific to getting past
                  Summary Judgment, and specific to discipline, and specific to the job
                  requirements, and his management.

  5/15/2022 JHS   Preparation to prepare our guys for deposition, they are given a lot of        2.10         840.00
                  materials, from me, and from everyone, giving them work product              400.00/hr
                  documents which will help them in the deposition. This preparation
                  produced one such document, which is three pages single spaced,
                  and tells the clients how to handle the defenses.

  5/16/2022 JHS   Meeting with GED about strategy of preparation for our guys depos,             0.40         160.00
                  specifically the subject of the on call time being mandatory, and the        400.00/hr
                  thirty minute response time.
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Antonio Ramos                                                                                             Page      25


                                                                                            Hrs/Rate        Amount

  5/16/2022 JHS   Preparation off of George's practice questions for clients, edit them,        2.80       1,120.00
                  and add to them, and get them ready to be asked in an order that will       400.00/hr
                  throw off clients

           GED Meeting with JHS about strategy of preparation for client depositions,           0.30             52.50
               with the specific defenses the on call time being mandatory, and the           175.00/hr
               thirty minute response time.

  5/17/2022 JMB   Deposition prep with clients to prepare for next week's depositions and       1.30         455.00
                  provided feedback after mock depositions.                                   350.00/hr

           JHS    Continued Preparation for Daniel Porter's deposition next week.               2.10         840.00
                                                                                              400.00/hr

           GED Deposition training of Antonio Ramos to perform mock deposition.                 1.20         210.00
                                                                                              175.00/hr

           GED Deposition training session: Reviewed Defendant's defenses, gave                 0.80         140.00
               deposition tips, answered outstanding deposition issues from clients,          175.00/hr
               and communicated other training deposition points to clients.




                                    Draft
           GED Draft updated mock deposition questions for client in relation to
               weaknesses of client's claim.

           GED Draft email to clients reminding them of the deposition training times.


           GED Compiled all exhibits to be used in the deposition of Sandra Barnes.
                                                                                                1.00
                                                                                              175.00/hr

                                                                                                0.10
                                                                                              175.00/hr

                                                                                                1.00
                                                                                              175.00/hr
                                                                                                             175.00




                                                                                                        NO CHARGE
                                                                                                                 17.50




           GED Compiled all exhibits to be used in the deposition of Eric Obel.                 0.50    NO CHARGE
                                                                                              175.00/hr

           GED Compiled and reviewed all exhibits to be used in the deposition of               0.30    NO CHARGE
               Daniel Porter.                                                                 175.00/hr

           JHS    Deposition training of Juan Guzman and Antonio Ramos                          1.20         480.00
                                                                                              400.00/hr

  5/18/2022 JHS   Preparation continued for deposition of Eric Obel adding more sections        2.50       1,000.00
                  of inquiry, and more questions, up to 30 handwritten pages in this prep     400.00/hr
                  to date, and ten on the computer.

           GED Revised deposition questions of Antonio Ramos to make the questions              1.00         175.00
               more specific to the severance letter and other weaknesses to his              175.00/hr
               case.

           GED Second Deposition training session of the week. Mock deposition of               3.50    NO CHARGE
               Antonio Ramos and feedback on responses.                                       175.00/hr
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Antonio Ramos                                                                                               Page      26


                                                                                              Hrs/Rate        Amount

  5/18/2022 JHS    Preparation of Antonio Ramos Through Cross Examination for period              3.50       1,400.00
                   of half the time that would be required of his deposition, in deposition     400.00/hr
                   prep with the clients, second of the week.

            JMB    Preparation of Antonio Ramos Through Cross Examination for period              3.50       1,225.00
                   of half the time that would be required of his deposition, in deposition     350.00/hr
                   prep with the clients, second of the week.

  5/19/2022 GED Draft notice of taking non-party deposition.                                      0.30             52.50
                                                                                                175.00/hr

            GED Analyzed federal rules, case law, and secondary sources for procedure             0.60         105.00
                to depose non-parties in an FLSA case.                                          175.00/hr

  5/20/2022 GED Meeting with client regarding settlement offer and his decision on the            1.20         210.00
                offer.                                                                          175.00/hr

            JHS    Meeting with GED regarding Defendant's most updated settlement                 0.80         320.00
                   offer and how to relay to clients.                                           400.00/hr




                                     Draft
            GED Meeting with JHS regarding Defendant's most updated settlement offer              0.80    NO CHARGE
                and how to relay to clients.                                                    175.00/hr

            JHS    Meeting with client regarding settlement offer and his decision on the         1.20         480.00
                   offer.                                                                       400.00/hr

            JMB    Meeting with client regarding settlement offer and his decision on the         1.20         420.00
                   offer.                                                                       350.00/hr

  6/23/2022 GED Reviewed and analyzed settlement agreement provided by OC with                    0.50             87.50
                JHS and highlighted points of issue to put to OC's attention.                   175.00/hr

            JMB    Analyze draft settlement agreement from Defendants.                            0.30         105.00
                                                                                                350.00/hr

  6/27/2022 GED Reviewed and revised Defendant's second version of settlement                     0.30             52.50
                agreement.                                                                      175.00/hr

  6/28/2022 GED Telephone conference with client Ramos to review settlement                       0.30             52.50
                agreement for execution.                                                        175.00/hr

   7/5/2022 GED Meeting with JHS regarding changes to Defendant's first draft of the              0.30             52.50
                motion to approve settlement to discuss additions and changes to the            175.00/hr
                motion before approval.

            GED Revised Defendant's first draft of the motion to approve settlement to            0.30             52.50
                ensure proper citations, formatting, grammar, and edited language               175.00/hr
                from JHS for OC's approval.

            JMB    Review and revise Joint Motion for Approval of Settlement.                     0.20             70.00
                                                                                                350.00/hr
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Antonio Ramos                                                                                             Page      27


                                                                                            Hrs/Rate        Amount

   7/6/2022 GED Reviewed Court's order approving settlement.                                    0.10             17.50
                                                                                              175.00/hr

   7/7/2022 JP      Receive and review Paperless Order re Fairness hearing and                  0.10             12.50
                    Settlement Agreement. Calendar due dates.                                 125.00/hr

  7/11/2022 GED Prepared statement of claim and settlement amounts in a chart for the           0.20             35.00
                Motion to Approve Settlement hearing.                                         175.00/hr

             GED Attended hearing on Motion to Approve Settlement.                              0.10             17.50
                                                                                              175.00/hr

             JMB    Prepare for and attend Fairness Hearing.                                    0.30         105.00
                                                                                              350.00/hr

             JMB    Attention to correspondence with clients concerning settlement and          0.20             70.00
                    settlement documentation.                                                 350.00/hr

  7/18/2022 JHS     Legal Research by reading Matthewman Opinions on Attorneys Fees             0.70         280.00
                    and notating, and excerpting.                                             400.00/hr

             JHS



                 funds.
                                      Draft
                    Draft Beginning of the Motion for Fees


             GED Sent all tax forms for all plaintiffs to opposing counsel for settlement


  7/21/2022 GED Draft Bill of Costs with invoice exhibits.
                                                                                                1.30
                                                                                              400.00/hr

                                                                                                0.10
                                                                                              175.00/hr

                                                                                                0.30
                                                                                              175.00/hr
                                                                                                             520.00


                                                                                                                 17.50


                                                                                                                 52.50


             GED Case analysis on approving costs for motion to approve costs.                  0.40             70.00
                                                                                              175.00/hr

  7/22/2022 GED Draft first draft of motion for costs.                                          0.50             87.50
                                                                                              175.00/hr

  7/25/2022 GED Revise motion for costs after JHS review.                                       0.10             17.50
                                                                                              175.00/hr

   8/4/2022 GED Revised second version of motion for fees for JHS review.                       0.30             52.50
                                                                                              175.00/hr

             GED Revised motion for costs to indicate opposing counsel agreed with the          0.10             17.50
                 costs sought.                                                                175.00/hr

  8/10/2022 GED Draft motion for fees for JHS review.                                           0.60         105.00
                                                                                              175.00/hr

                For professional services rendered                                            338.30      $90,677.50
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            Additional Charges :

                                                                                                                   Amount

  5/10/2021 AE      Florida Southern District Court Case initiation filing fee/ Tracking Id:                        402.00
                    AFLSDC-14675293

  5/11/2021 AE      On Time Legal Fee/ Summons Service FDI/ Invoice #ABV-2021001491                                     40.00

            AE      On Time Legal Fee/ Summons Service Porter/ Invoice #ABV-2021001490                                  40.00

  5/13/2021 AE      On Time Legal Fee/ Summons Service Obel/ Invoice #ABV-2021001489                                    40.00

  5/18/2021 AE      On Time Legal Fee/ Summons Service Laura Porter/ Invoice #ABV-2021001543                            40.00

            AE      On Time Legal Fee/ Summons Service FDI ra Laura Porter/ Invoice                                     40.00
                    #ABV-2021001542

  5/19/2021 AE      On Time Legal Fee/ Summons Service Obel/ Invoice #ABV-2021001541                                    40.00

   5/3/2022 GED Deposition Invoice of Laura Porter.                                                                 195.00




                                       Draft
  5/18/2022 JP      Invoice #543410 from Universal Court Reporting for deposition transcript of John                824.55
                    Mathews.

  5/23/2022 JP      Invoice #543408 from Universal Court Reporting for deposition transcript of Laura               472.80
                    Porter.

   6/7/2022 JP      Invoice # 20448518 from Universal Court Reporting for the Deposition of Laura Porter            195.00
                    on 4/28/22.

                Total additional charges                                                                          $2,329.35


                Total amount of this bill                                                                        $93,006.85


            Balance due                                                                                          $93,006.85



                                                   Timekeeper Summary
Name                                                                                            Hours     Rate      Amount
Josh M. Bloom                                                                                   31.20   350.00   $10,920.00
Josh M. Bloom                                                                                    3.50     0.00        $0.00
George Dahdal                                                                                   57.40   175.00   $10,045.00
George Dahdal                                                                                   48.30     0.00        $0.00
Jenny Perez                                                                                      0.50   125.00       $62.50
Joshua H. Sheskin                                                                              173.00   400.00   $69,200.00
Joshua H. Sheskin                                                                               24.40     0.00     $450.00
